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                         UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

   IN RE:                                      *              CASE NO.: 22-56104
   BRITTNEY ANGELETTE WARNER,                  *
                                               *
                                               *              CHAPTER 13
                                               *
                 DEBTOR                        *

              DEBTOR'S AMENDMENT TO CHAPTER 13 SCHEDULES

         Comes Now, Brittney Angelette Warner, Debtor, and amends her Chapter 13
   Schedules per the following:

      1.   Debtor amends Schedule A/B as attached
      2.   Debtor amends the Declaration of Schedules and Summary of Schedules as
           attached.

   WHEREFORE, Debtor prays that this Amendment be allowed, that the Trustee
   withdraws any objection(s) and for such other and further relief as the Court deems
   appropriate and just.

   This the 24th day of October, 2022.




                                               Respectfully Submitted,

                                               Law Office of Stanley J. Kakol, Jr., LLC
                                               /S/Stanley J. Kakol, JR.
                                               Stanley J. Kakol, Jr. GBN 406060
                                               Attorney for Debtor
                                               5353 Fairington Road
                                               Suite C
                                               Lithonia, Georgia 30038
                Case 22-56104-wlh                    Doc 16           Filed 10/24/22 Entered 10/24/22 16:30:35                                         Desc Main
                                                                                                                                                                      10/24/22 4:17PM
                                                                     Document      Page 2 of 14
   Fill in this information to identify your case and this filing:

   Debtor 1                   Brittney Angelette Warner
                              First Name                    Middle Name                       Last Name

   Debtor 2
   (Spouse, if filing)        First Name                    Middle Name                       Last Name


   United States Bankruptcy Court for the:           NORTHERN DISTRICT OF GEORGIA

   Case number           22-56104                                                                                                                             Check if this is an
                                                                                                                                                              amended filing



  Official Form 106A/B
  Schedule A/B: Property                                                                                                                                     12/15
  In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
  think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
  information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
  Answer every question.

   Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

  1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

          No. Go to Part 2.
          Yes. Where is the property?



   Part 2: Describe Your Vehicles

  Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
  someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

  3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

          No
          Yes


    3.1      Make:       Hyundai                                Who has an interest in the property? Check one                  Do not deduct secured claims or exemptions. Put
                                                                                                                                the amount of any secured claims on Schedule D:
             Model:      Tucson                                    Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
             Year:       2017                                      Debtor 2 only                                                Current value of the     Current value of the
             Approximate mileage:               78,000             Debtor 1 and Debtor 2 only                                   entire property?         portion you own?
             Other information:                                    At least one of the debtors and another


                                                                   Check if this is community property                                  $15,725.00                 $15,725.00
                                                                    (see instructions)




  4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

          No
          Yes



   5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
     .pages you have attached for Part 2. Write that number here.............................................................................=>                 $15,725.00


   Part 3: Describe Your Personal and Household Items
   Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

  Official Form 106A/B                                                      Schedule A/B: Property                                                                          page 1




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   Debtor 1     Brittney Angelette Warner                                                             Case number (if known)     22-56104
  6. Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware
       No
        Yes. Describe.....

                                 Household goods and furnishings                                                                                   $1,000.00


  7. Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
                including cell phones, cameras, media players, games
        No
        Yes. Describe.....

                                 Electronics                                                                                                         $650.00


  8. Collectibles of value
     Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
                 other collections, memorabilia, collectibles
        No
        Yes. Describe.....

  9. Equipment for sports and hobbies
     Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
               musical instruments
        No
        Yes. Describe.....

  10. Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

  11. Clothes
      Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
        No
        Yes. Describe.....

  12. Jewelry
       Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
        No
        Yes. Describe.....

  13. Non-farm animals
      Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....

  14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


   15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
       for Part 3. Write that number here ..............................................................................                       $1,650.00


   Part 4: Describe Your Financial Assets
   Do you own or have any legal or equitable interest in any of the following?                                                       Current value of the
                                                                                                                                     portion you own?
                                                                                                                                     Do not deduct secured
                                                                                                                                     claims or exemptions.


  Official Form 106A/B                                         Schedule A/B: Property                                                                    page 2




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   Debtor 1        Brittney Angelette Warner                                                                                        Case number (if known)   22-56104
  16. Cash
      Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
        No
        Yes................................................................................................................

  17. Deposits of money
      Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                    institutions. If you have multiple accounts with the same institution, list each.
       No
       Yes........................                                     Institution name:


                                              17.1.       Checking                                Chime                                                                      $0.00



                                              17.2.       Debit                                   American Express                                                          $10.00



                                              17.3.       Checking                                Navy Federal                                                               $5.00



                                              17.4.       Checking                                Wells Fargo                                                                $5.00


  18. Bonds, mutual funds, or publicly traded stocks
      Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                           Institution or issuer name:

  19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
      joint venture
        No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                                   % of ownership:

  20. Government and corporate bonds and other negotiable and non-negotiable instruments
      Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
      Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

  21. Retirement or pension accounts
      Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
       No
        Yes. List each account separately.
                                Type of account:                                                  Institution name:

                                              401K                                                401K                                                                  $1,090.00


  22. Security deposits and prepayments
      Your share of all unused deposits you have made so that you may continue service or use from a company
      Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                                                Institution name or individual:

  23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............              Issuer name and description.

  24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
      26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
  Official Form 106A/B                                                                     Schedule A/B: Property                                                             page 3




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   Debtor 1      Brittney Angelette Warner                                                             Case number (if known)     22-56104

        No
        Yes.............     Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

  25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

  26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
      Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

  27. Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

   Money or property owed to you?                                                                                                    Current value of the
                                                                                                                                     portion you own?
                                                                                                                                     Do not deduct secured
                                                                                                                                     claims or exemptions.

  28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



  29. Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


  30. Other amounts someone owes you
      Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
                benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

  31. Interests in insurance policies
       Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
        No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                Beneficiary:                             Surrender or refund
                                                                                                                                       value:

  32. Any interest in property that is due you from someone who has died
      If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
      someone has died.
        No
        Yes. Give specific information..


  33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
      Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

  34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........




  Official Form 106A/B                                          Schedule A/B: Property                                                                    page 4




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   Debtor 1         Brittney Angelette Warner                                                                                             Case number (if known)   22-56104


                                                               Personal Injury Auto Accident April 24, 2022
                                                               (Ken Nugent)                                                                                                      Unknown


  35. Any financial assets you did not already list
          No
          Yes. Give specific information..


   36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here.....................................................................................................................                 $1,110.00


   Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

  37. Do you own or have any legal or equitable interest in any business-related property?
         No. Go to Part 6.
         Yes. Go to line 38.



   Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
              If you own or have an interest in farmland, list it in Part 1.


  46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
             No. Go to Part 7.
             Yes. Go to line 47.


   Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


  53. Do you have other property of any kind you did not already list?
      Examples: Season tickets, country club membership
          No
          Yes. Give specific information.........


   54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                        $0.00

   Part 8:         List the Totals of Each Part of this Form

   55. Part 1: Total real estate, line 2 ......................................................................................................................                       $0.00
   56. Part 2: Total vehicles, line 5                                                                           $15,725.00
   57. Part 3: Total personal and household items, line 15                                                       $1,650.00
   58. Part 4: Total financial assets, line 36                                                                   $1,110.00
   59. Part 5: Total business-related property, line 45                                                              $0.00
   60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
   61. Part 7: Total other property not listed, line 54                                             +                $0.00

   62. Total personal property. Add lines 56 through 61...                                                      $18,485.00              Copy personal property total            $18,485.00

   63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                           $18,485.00




  Official Form 106A/B                                                               Schedule A/B: Property                                                                             page 5




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   Fill in this information to identify your case:

   Debtor 1                   Brittney Angelette Warner
                              First Name                           Middle Name                          Last Name

   Debtor 2
   (Spouse if, filing)        First Name                           Middle Name                          Last Name


   United States Bankruptcy Court for the:                  NORTHERN DISTRICT OF GEORGIA

   Case number           22-56104
   (if known)
                                                                                                                                                                    Check if this is an
                                                                                                                                                                    amended filing



  Official Form 106Sum
  Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
  information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
  your original forms, you must fill out a new Summary and check the box at the top of this page.

   Part 1:        Summarize Your Assets

                                                                                                                                                                   Your assets
                                                                                                                                                                   Value of what you own

   1.     Schedule A/B: Property (Official Form 106A/B)
          1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $                      0.00

          1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              18,485.00

          1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $              18,485.00

   Part 2:        Summarize Your Liabilities

                                                                                                                                                                   Your liabilities
                                                                                                                                                                   Amount you owe

   2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
          2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             398,533.67

   3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
          3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                2,000.00

          3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $                2,751.00


                                                                                                                                       Your total liabilities $               403,284.67


   Part 3:        Summarize Your Income and Expenses

   4.     Schedule I: Your Income (Official Form 106I)
          Copy your combined monthly income from line 12 of Schedule I................................................................................             $                3,902.60

   5.     Schedule J: Your Expenses (Official Form 106J)
          Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                3,153.60

   Part 4:        Answer These Questions for Administrative and Statistical Records

   6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
               No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

             Yes
   7.     What kind of debt do you have?

                  Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                  household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

              Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
   Official Form 106Sum        Summary of Your Assets and Liabilities and Certain Statistical Information                           page 1 of 2




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   Debtor 1    Brittney Angelette Warner                                                   Case number (if known) 22-56104
              the court with your other schedules.

   8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
        122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              $          4,274.67


   9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                          Total claim
        From Part 4 on Schedule E/F, copy the following:
        9a. Domestic support obligations (Copy line 6a.)                                                   $                  0.00

        9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              2,000.00

        9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                  0.00

        9d. Student loans. (Copy line 6f.)                                                                 $                  0.00

        9e. Obligations arising out of a separation agreement or divorce that you did not report as
            priority claims. (Copy line 6g.)                                                               $                  0.00

        9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                  0.00


        9g. Total. Add lines 9a through 9f.                                                           $                 2,000.00




  Official Form 106Sum                        Summary of Your Assets and Liabilities and Certain Statistical Information                         page 2 of 2




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   Fill in this information to identify your case:

   Debtor 1                    Brittney Angelette Warner
                               First Name            Middle Name              Last Name

   Debtor 2
   (Spouse if, filing)         First Name            Middle Name              Last Name


   United States Bankruptcy Court for the:       NORTHERN DISTRICT OF GEORGIA

   Case number              22-56104
   (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor's Schedules                                                                                                  12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                         Sign Below


          Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                  No

                  Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                          Declaration, and Signature (Official Form 119)


         Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
         that they are true and correct.

          X /s/ Brittney Angelette Warner                                     X
                Brittney Angelette Warner                                         Signature of Debtor 2
                Signature of Debtor 1

                Date       October 24, 2022                                       Date




  Official Form 106Dec                               Declaration About an Individual Debtor's Schedules




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                                         UNITED STATES BANKRUPTCY COURT
                                          NORTHERN DISTRICT OF GEORGIA
                                                 ATLANTA DIVISION

           INRE:                                             :           CHAPTER 13
           BRITTNEY ANGELETTE WARNER,                        :
                                                             :
                   DEBTOR                                    :           CASE NO. 22-56104


                            UNSWORN DECLARATION UNDER PENALTY OF PERJURY
                                     REGARDING 2021 TAX RETURN


                   I, Brittney Angelette Warner., the undersigned, hereby affirm under penalty of perjury

           that:

                   The 2021 Tax Return provided is a true and correct copy of the most recent return

           submitted to the Internal Revenue Service.


                   I declare under penalty of perjury that the foregoing is true and correct.


                   Executed on the 24th day of October, 2022.



                                            _____________________________
                                                  Brittney Angelette Warner




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  Signature Certificate
  Reference number: QDGDU-2MNOH-3C3VP-WCSFL




   Signer                                 Timestamp                             Signature

   Brittney Warner
   Email:

   Sent:                                  24 Oct 2022 20:19:09 UTC
   Viewed:                                24 Oct 2022 20:19:37 UTC
   Signed:                                24 Oct 2022 20:20:29 UTC

   Recipient Verification:                                                      IP address: 166.194.188.109
   ✔Email verified                        24 Oct 2022 20:19:37 UTC              Location: Buffalo, United States




  Document completed by all parties on:
  24 Oct 2022 20:20:29 UTC


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                     Signed with PandaDoc

                     PandaDoc is a document workflow and certified eSignature
                     solution trusted by 30,000+ companies worldwide.
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                          UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

   IN RE:                                      *              CASE NO.: 22-56104
   BRITTNEY ANGELETTE WARNER,                  *
                                               *
                                               *              CHAPTER 13
                                               *
                  DEBTOR                       *


                                CERTIFICATE OF SERVICE
           The undersigned hereby certifies under penalty of perjury:
   That I am more than 18 years of age, and that on this day, I served a copy of the within
   Debtor's Amendment to Chapter 13 Schedules by depositing a copy of same in U.S. Mail
   with sufficient postage affixed thereon to ensure delivery or by the Court’s Electronic
   Case Filing (ECF) mail system to:

This the 24th day of October, 2022.

                                                   ___/s/________________
                                                   Stanley J. Kakol, Jr., GA Bar No 406060
                                                   Attorney for Debtor
                                                   Law Office of Stanley J. Kakol, Jr., LLC
                                                   5353 Fairington Road
                                                   Suite C
                                                   Lithonia, GA 30038


   Debtor
   Brittney Angelette Warner
   817 Tallowtree Lane
   McDonough, GA 30252

   Trustee
   Nancy J. Whaley
   Standing Chapter 13 Trustee
   303 Peachtree Center Avenue
   Suite 120
   Atlanta, GA 30303

   All creditors on the attached Matrix.
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Label Matrix for local noticing                      Acceptance
                                                        DocumentNOW        Page 13 of 14                  Capital One
113E-1                                               Attn: Bankruptcy                                     Attn: Bnakruptcy
Case 22-56104-wlh                                    5501 Headquarters Drive                              P.O. Box 30285
Northern District of Georgia                         Plano, TX 75024-5837                                 Salt Lake City, UT 84130-0285
Atlanta
Mon Oct 24 16:24:13 EDT 2022
Chimef/str                                           Comenitybank/Jared                                   Credit One Bank
Attn: Bankruptcy                                     Attn: Bankruptcy                                     Attn: Bankruptcy Department
Po Box 417                                           Po Box 182125                                        Po Box 98873
San Francisco, CA 94104-0417                         Columbus, OH 43218-2125                              Las Vegas, NV 89193-8873


Evan Owens Durkovic                                  First Premier Bank                                   (p)GEORGIA DEPARTMENT OF REVENUE
Aldridge Pite, LLP                                   Attn: Bankruptcy                                     COMPLIANCE DIVISION
3575 Piedmont Road N.E.                              Po Box 5524                                          ARCS BANKRUPTCY
Ste 500                                              Sioux Falls, SD 57117-5524                           1800 CENTURY BLVD NE SUITE 9100
Atlanta, GA 30305-1636                                                                                    ATLANTA GA 30345-3202

Internal Revenue Service                             Stanley J. Kakol Jr.                                 PennyMac Loan Services, LLC
401 W. Peachtree Street, NW                          The Law Offices of Stanley J. Kakol, Jr.             P.O. Box 2410
Stop #334-D Room 400                                 5353 Fairington Road                                 Moorpark, CA 93020-2410
Atlanta, GA 30308                                    Suite C
                                                     Lithonia, GA 30038-1164

Pennymac Loan Services                               Premier Bankcard, LLC                                Quantum3 Group LLC as agent for
PO Box 514387                                        Jefferson Capital Systems LLC Assignee               Comenity Bank
Los Angeles, CA 90051-4387                           Po Box 7999                                          PO Box 788
                                                     Saint Cloud MN 56302-7999                            Kirkland, WA 98083-0788


SANTANDER CONSUMER USA INC.                          Santander Consumer USA                               United States Attorney
                P.O. BOX 961245                      Attn: Bankruptcy                                     Northern District of Georgia
                FORT WORTH, TX 76161-0244            Po Box 961245                                        75 Ted Turner Drive SW, Suite 600
                                                     Fort Worth, TX 76161-0244                            Atlanta GA 30303-3309


Brittney Angelette Warner                            Nancy J. Whaley
817 Tallowtree Lane                                  Nancy J. Whaley, Standing Ch. 13 Trustee
McDonough, GA 30252-3127                             Suite 120, Truist Plaza Garden Offices
                                                     303 Peachtree Center Avenue
                                                     Atlanta, GA 30303-1216



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Georgia Department of Revenue
Attn: Bankruptcy Department
1800 Century Boulevard, NE
Suite 9100
Atlanta, GA 30345




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.
               Case 22-56104-wlh   Doc 16   Filed 10/24/22 Entered 10/24/22 16:30:35   Desc Main
(u)PennyMac Loan Services, LLC         End Document
                                           of Label Matrix
                                                         Page 14 of 14
                                       Mailable recipients   19
                                       Bypassed recipients    1
                                       Total                 20
